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OFFICE OF THE ATTORNEY GENERAL
OF MASSACHUSETTS, MARTHA COAKLEY
Justin J. Lowe (pro hac vice pending)
Assistant Attorney General
Consumer Protection Division
One Ashburton Place
Boston, MA 02108
Telephone: (617) 727-2200, ext. 2912
Facsimile: (617) 727-5765
E-mail: justin.lowe@state.ma.us

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                              )
                                                    )      Case No. 12-12020 (MG)
RESIDENTIAL CAPITAL, LLC, et al.,                   )
                                                    )      Chapter 11
                       Debtors.                     )
                                                    )      Jointly Administered
                                                    )

                MOTION FOR ADMISSION TO PRACTICE PRO HAC VICE

         I, Justin J. Lowe, request admission, pro hac vice, before the Honorable Martin Glenn, to

represent the Commonwealth of Massachusetts, a creditor in the above-referenced case.

         I certify that I am a member in good standing of the bar in the State of Massachusetts and

the U.S. District Court for the District of Massachusetts. A true and correct copy of my Certificate

of Good Standing is attached hereto as Exhibit A.
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                                   Document Pg 2 of 3



     I have submitted the filing fee of $200.00 with this motion for pro hac vice admission.

                                                  Respectfully submitted,

DATED: December 13, 2013                           OFFICE OF THE ATTORNEY GENERAL
                                                   OF MASSACHUSETTS

                                                   By: /s/ Justin J. Lowe
                                                   JUSTIN J. LOWE (pro hac vice pending)
                                                   Assistant Attorney General
                                                   One Ashburton Place, 18th Floor
                                                   Boston, Massachusetts 02108
                                                   Tel.: (617) 963-2912
                                                   Fax.: (617) 727-5765
                                                   Email: justin.lowe@state.ma.us

                                                   Attorneys for the
                                                   Commonwealth of Massachusetts
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                                     Document Pg 3 of 3



                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 13, 2013, a true and correct copy of the foregoing Motion
for Pro Hac Vice Admission was caused to be served upon the persons who have electronically
entered a notice of appearance and are served through the Court's CM/ECF System, and to the
persons listed below and in the manner indicated:

VIA FIRST CLASS MAIL:

Morrison & Foerster LLP                           Office of the United States Trustee for the
1290 Avenue of the Americas                       Southern District of New York
New York, New York 10104                          U.S. Federal Office Building
Attn: Lorenzo Marinuzzi                           201 Varick Street, Suite 1006
       Samantha Martin                            New York, New York 10014
                                                  Attn: Brian S. Masumoto

Kramer Levin Naftalis & Frankel LLP               Kirkland & Ellis
1177 Avenue of the Americas                       601 Lexington Avenue
New York, New York 10036                          New York, New York 10022
Attn: Kenneth H. Eckstein                         Attn: Ray C. Schrock
      Douglas H. Mannal                                  Stephen E. Hessler
                                                         Craig A. Bruens



                                                 /s/ Justin J. Lowe
                                                 Justin J. Lowe
